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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM

Honorable Kimberly J. Mueller               RE: Jose Manuel Lopez
United States District Judge                    Docket Number: 0972 2:10CR00055-005
Sacramento, California                          PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


Jose Manuel Lopez is requesting permission to travel to Tijuana, Baja California, Mexico. Jose
Manuel Lopez is current with all supervision obligations, and the probation officer recommends
approval be granted.


Conviction and Sentencing Date: On October 1, 2014, Jose Manuel Lopez was sentenced for
the offense of 18 USC § 924(c)(1)(A)(i) – Possession of a Firearm in Furtherance of a Drug
Trafficking Crime (Class A Felony).


Sentence Imposed: 72 months Bureau of Prisons, 36 months Supervised Release, and $100
Special Assessment (Paid). Special conditions include: Warrantless Search; Drug/Alcohol
Treatment; Drug/Alcohol Testing; Aftercare Co-payment


Dates and Mode of Travel: November 5, 2017, through November 7, 2017. Will be driving a
2015 Jeep Cherokee, License Plate# 7MHX368


Purpose: Dental appointment.




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                                                                                               REV. 03/2017
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Jose Manuel Lopez
         Docket Number: 0972 2:10CR00055-005
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                        /s/ Tim Mechem

                                        Tim D. Mechem
                           Supervising United States Probation Officer

Dated:     October 30, 2017
           Fresno, California
           TDM/rmv


REVIEWED BY:                 /s/ Brian J. Bedrosian
                           Brian J. Bedrosian
                           Supervising United States Probation Officer



                                 ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

DATED: November 1, 2017.




                                UNITED STATES DISTRICT JUDGE




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                                                                                                REV. 03/2017
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
